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                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



 CHRISTOPHER TAYLOR,                            Case No. 1:15-cv-00552-CWD


                       Petitioner,
                                                NOTICE OF APPEAL

     v.


 RANDY BLADES,


                       Respondent.



       Notice is hereby given that Petitioner Christopher Taylor appeals to the

United States Court of Appeals for the Ninth Circuit from the District Court’s Judgment

(Dkt. 51) entered on February 24, 2020, and all interlocutory orders preceding judgment.

       RESPECTFULLY SUBMITTED on this 18th day of March, 2020.

                                                /s/Craig H. Durham
                                                Attorney for Petitioner

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                              CERTIFICATE OF SERVICE

      I CERTIFY that on the 18th day of March, 2020, I filed the foregoing electronically

through the CM/ECF system, which caused the following parties or counsel to be

served by electronic means, as more fully reflected on the Notice of Electronic Filing:

      Kale Gans
      Kale.Gans@ag.idaho.gov

      Attorney for Respondent.

                                         /s/Craig H. Durham
                                         Attorney for Petitioner




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